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UNITED STATES DISTRICT COURT                                  NOT FOR PUBLICATION
EASTERN DISTRICT OF NEW YORK
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CURTIS DARBY,
                                                              MEMORANDUM AND ORDER
                          Plaintiff,

                 -against-                                    14-cv-4078

NEW YORK CITY POLICE DEPARTMENT,

                           Defendant.
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CURTIS DARBY,

                          Plaintiff,

                 -against-                                     14-cv-4682

NEW YORK CITY POLICE DEPARTMENT,

                          Defendant.

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JOHN GLEESON, United States District Judge:

                 Pro se plaintiff Curtis Darby currently has two cases pending in this Court against

the New York City Police Department. The first, docketed under number 14-cv-4078, was

originally filed in the Southern District of New York and transferred to this Court on June 30,

2014. See No. 14-cv-4078, Transfer Order, June 30, 2014, ECF No. 3. The second case,

docketed as number 14-cv-4682, was filed in this Court on August 1, 2014. See No. 14-cv-4682,

Compl., Aug. 1, 2014, ECF No. 1. Both cases complain of the same alleged police misconduct.

                 On September 5, 2014, the Court received a letter from Darby making clear that

he wants the August 1, 2014, complaint in the case docketed as 14-cv-4682 to instead be

considered an amended complaint in the case docketed as 14-cv-4078. See No. 14-4078, Letter,
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Sept. 5, 2014, ECF No. 11. Accordingly, rather than have two duplicative cases, the Clerk is

respectfully directed to file the complaint from the 14-cv-4682 case as an amended complaint in

the 14-cv-4078 case and to close the 14-cv-4682 case. All future filings shall only be docketed

in the 14-cv-4078 case.

                                                    So ordered.



                                                    John Gleeson, U.S.D.J.


Dated: September 8, 2014
       Brooklyn, New York




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